     Case 1:15-cr-00179-LJO-SKO Document 94 Filed 09/27/18 Page 1 of 2


 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   MEGAN T. HOPKINS, Bar #294141
     JEROME PRICE, Bar #282400
 3   Assistant Federal Defenders
     Designated Counsel for Service
 4   2300 Tulare Street, Suite 330
     Fresno, CA 93721-2226
 5   Telephone: (559) 487-5561
     Fax: (559) 487-5950
 6
     Attorneys for Defendant
 7   NA YOUNG EOH

 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                   Case No. 1:15-cr-00179-LJO-SKO-2

12                    Plaintiff,                  STIPULATION TO AMEND JUDGMENT;
                                                  ORDER
13    vs.
                                                  Judge: Hon. Lawrence J. O'Neill
14    NA YOUNG EOH,

15                    Defendant.

16
17          IT IS HEREBY STIPULATED by and between the parties through their respective
18   counsel, Mark McKeon, Assistant United States Attorney, counsel for the plaintiff, and Megan
19   T. Hopkins and Jerome Price, Assistant Federal Defenders, counsel for defendant Na Young
20   Eoh, that the defendants’ judgment be amended as follows:
21          In light of defendant’s timely payment of the full amount of the $3,000 fine imposed on
22   September 4, 2018 as well as the $100 special assessment in this matter, defendant’s term of
23   probation should be reduced to 12 months from the date of sentencing, to terminate on
24   September 4, 2019. All other terms and conditions of probation are to remain unchanged.
25          On September 4, 2018 the defendant was sentenced in the above captioned matter to 36
26   months probation with a total monetary penalty of $3,100. The parties stipulated at the time of
27   sentencing that if defendant made full payment of her monetary penalty within 30 days of
28   sentencing, the term of probation imposed should be no greater than 12 months. The Court
     Case 1:15-cr-00179-LJO-SKO Document 94 Filed 09/27/18 Page 2 of 2


 1   agreed with the parties and requested that upon confirmation of the defendant’s full payment of

 2   the fine and special assessment, the defendant submit a stipulation to amend the judgment and

 3   reduce the term of probation to 12 months.

 4             The defendant satisfied the full amount of the monetary penalty in a single lump

 5   payment, which was confirmed on September 18, 2018.1 Accordingly, the parties stipulate to

 6   amend the judgment to a 12-month term of probation.

 7                                                  Respectfully submitted,

 8
                                                    McGREGOR SCOTT
 9                                                  United States Attorney

10   Date: September 27, 2018                       /s/ Mark McKeon
                                                    MARK MCKEON
11                                                  Assistant United States Attorney
                                                    Attorneys for the United States
12
13
14                                                  HEATHER E. WILLIAMS
                                                    Federal Defender
15
16   Date: September 27, 2018                       /s/ Megan T. Hopkins
                                                    MEGAN T. HOPKINS
17                                                  JEROME PRICE
                                                    Assistant Federal Defenders
18                                                  Attorneys for Defendant
                                                    NA YOUNG EOH
19
20                                                ORDER

21             The judgment is hereby amended to have the Defendant serve a 12-month term of

22   probation.

23
     IT IS SO ORDERED.
24
25
           Dated:      September 27, 2018                    /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
26
27

28

     1
         See Exhibit A: Payment Confirmation
     fffEOH / Stip to Amend Judgment                  -2-
